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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                        CONDITIONAL TRANSFER ORDER (CTO −5)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2017). Since that time, 160 additional action(s) have been
transferred to the Northern District of Ohio. With the consent of that court, all such actions have
been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:
    Jan 24, 2018

                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                 MDL No. 2804



                   SCHEDULE CTO−5 − TAG−ALONG ACTIONS



 DIST       DIV.      C.A.NO.      CASE CAPTION


ARKANSAS EASTERN

                                   Association of Arkansas Counties et al v. Purdue
  ARE         4       17−00831     Pharma Inc et al

INDIANA NORTHERN

                                   Board of Commissioners of The County of Allen The v.
  INN         1       18−00003     Purdue Pharma LP et al
  INN         1       18−00005     Fort Wayne City of v. Cardinal Health Inc et al

INDIANA SOUTHERN

                                   CITY OF GREENWOOD, INDIANA v.
  INS         1       18−00047     AMERISOURCEBERGEN DRUG CORPORATION et
                                   al
                                   CITY OF NOBLESVILLE, INDIANA v.
  INS         1       18−00048     AMERISOURCEBERGEN DRUG CORPORATION et
                                   al
                                   TOWN OF ATLANTA, INDIANA v. CARDINAL
  INS         1       18−00054     HEALTH, INC. et al
                                   CITY OF MUNCIE, INDIANA v. CARDINAL
  INS         1       18−00057     HEALTH, INC., et al
                                   CITY OF KOKOMO, INDIANA v.
  INS         1       18−00060     AMERISOURCEBERGEN DRUG CORPORATION et
                                   al
                                   VIGO COUNTY INDIANA v.
  INS         2       18−00010     AMERISOURCEBERGEN DRUG CORPORATION et
                                   al
                                   CITY OF TERRE HAUTE, INDIANA v. CARDINAL
  INS         2       18−00011     HEALTH, INC. et al
                                   HARRISON COUNTY, INDIANA v. CARDINAL
  INS         4       18−00003     HEALTH, INC. et al
                                   JENNINGS COUNTY v. PURDUE PHARMA L.P. et
  INS         4       18−00006     al

IOWA SOUTHERN
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  IAS         4       18−00010     Polk County v. Purdue Pharma LP et al
  IAS         4       18−00011     Adair County et al v. Purdue Pharma LP et al

KENTUCKY EASTERN

  KYE         7       17−00193     Pike v. Teva Pharmaceuticals USA, Inc. et al Opposed 1/24/18

LOUISIANA WESTERN

 LAW          2       18−00002     Woods v. Purdue Pharma L P et al

MARYLAND

                                   Cecil County, Maryland v. Amerisourcebergen Drug
  MD          1       18−00063     Corporation et al

MASSACHUSETTS

  MA          1       18−10010     Hapgood v. Purdue Pharma L.P. et al
                                   City of Woburn v. Amerisourcebergen Drug
  MA          3       18−10032     Corporation et al
                                   City of Methuen v. Amerisourcebergen Drug
  MA          3       18−10035     Corporation et al

MICHIGAN EASTERN

                                   County of Roscommon, Michigan v. Purdue Pharma
  MIE         1       18−10078     L.P. et al
                                   County of Crawford, Michigan v. Purdue Pharma L.P. et
  MIE         5       18−10077
                                   al

MICHIGAN WESTERN

  MIW         1       18−00030     Leelanau, County of v. Purdue Pharma L.P. et al
  MIW         1       18−00032     Mason, County of v. Purdue Pharma L.P. et al
  MIW         1       18−00033     Manistee, County of v. Purdue Pharma L.P. et al
  MIW         2       18−00001     Marquette, County of v. Purdue Pharma L.P. et al

MINNESOTA

                                   County of Anoka, Minnesota v. Purdue Pharma L.P. et
  MN          0       18−00062     al

MISSISSIPPI NORTHERN

                                   Tippah County, Mississippi v. Amerisourcebergen Drug
  MSN         3       18−00006     Corporation et al
                                   Benton County, Mississippi v. Amerisourcebergen Drug
  MSN         3       18−00007     Corporation et al
                                   Union County, Mississippi v. Amerisourcebergen Drug
  MSN         3       18−00008     Corporation et al

MISSISSIPPI SOUTHERN
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                                   Amite County, Mississippi v. Amerisourcebergen Drug
  MSS         5       18−00009     Corporation et al

NEW YORK NORTHERN

                                   County of Albany, New York v. Purdue Pharma L.P. et
 NYN          1       18−00024     al

NORTH CAROLINA EASTERN

                                   Onslow County v. AmerisourceBergen Drug
  NCE         7       18−00001     Corporation et al
                                   City of Jacksonville v. AmerisourceBergen Drug
  NCE         7       18−00002     Corporation et al

NORTH CAROLINA WESTERN

                                   Eastern Band of Cherokee Indians v.
 NCW          1       18−00004     AmerisourceBergen Drug Corporation et al

SOUTH DAKOTA

                                   Flandreau Santee Sioux Tribe et al v. Purdue Pharma
  SD          4       18−04003     L.P. et al

TENNESSEE EASTERN

                                   Greene County, Tennessee v. Amerisourcebergen Drug
  TNE         2       18−00002     Corporation et al
                                   Johnson County v. Amerisourcebergen Drug
  TNE         2       18−00003
                                   Corporation et al (TV1)
                                   Campbell County v. Amerisourcebergen Drug
  TNE         3       18−00006     Corporation et al (JRG2)

TENNESSEE MIDDLE

                                   Williamson County, Tennessee v. AmerisourceBergen
 TNM          3       18−00008     Drug Corporation et al

TENNESSEE WESTERN

                                   Haywood County v. Amerisourcebergen Drug
 TNW          1       18−02016     Coropration et al

TEXAS EASTERN

  TXE         2       18−00002     County of Camp v. Purdue Pharma L.P. et al
  TXE         5       18−00002     County of Franklin v. Purdue Pharma L.P. et al

WEST VIRGINIA SOUTHERN

                                   Raleigh County Commission v. CVS Indiana, L.L.C. et
 WVS          5       17−04484     al
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WISCONSIN EASTERN

  WIE         2       18−00022     Brown County et al v. Purdue Pharma LP et al
